 AO 91 (Rev. 11/11)    Criminal Complaint



                                            UNITED STATES DISTRICT COURT
                                                                       for the
                                                          Eastern District of Virginia

                      United States of America                            )
                                  v.                                      )
                                                                          )       Case No.     1:25mj325
                        Nathan Vilas Laatsch
                                                                          )
                                                                          )
                                                                          )
                                                                          )
                              Defendant(s)


                                                       CRIMINAL COMPLAINT

            I, the complainant       in this case, state that the following is true to the best of my knowledge         and belief.
 On or about the date(s) of           between March 2 and May 28.2025            in the county of                Arlington               in the
       Eastern             District of              V_i~rg~in_i_a     , the defendant(s)   violated:

               Code Section                                                         Offense Description
18 U.S.C. 794                                        attempting to transmit national defense     information to an officer or agent of a
                                                     foreign government




           This criminal complaint is based on these facts:

See Attached Affidavit




            o Continued on the attached sheet.

           Reviewed        by AUSAISAUSA:                                                              Complainant's signature

            tGOrdOn D. Kromberg                                                            Matthew T. Johnson.       FBI Special Agent
                                                                                                       Printed name and title

                                                                                  Subscribed and sworn to in accordance with Fed. R. Crim. P.
                                                                                  4.1, by telephone on this 28th day of May 2025


                                                                                                          Judge's signature

 City and state:                            Alexandria. Virginia                  William E. Fitzpatrick. United States Magistrate Judge
                                                                                                       Printed name and title
